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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION                                                             ENTERED
                                                                                                                    06/08/2021
                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            )   Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                )   (Jointly Administered)
                                                                      )
                                                                      )   Re: Docket No. 23

                     INTERIM ORDER AUTHORIZING AND APPROVING
                    PROCEDURES TO REJECT, ASSUME, OR ASSUME AND
                 ASSIGN EXECUTORY CONTRACTS AND UNEXPIRED LEASES

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”) authorizing and

approving the Contract Procedures for rejecting, assuming, or assuming and assigning executory

contracts and unexpired leases, all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b); and this

Court having found that it may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

1. The final hearing (the “Final Hearing”) on the Motion shall be held on July 12, 2021, at

   2:00 p.m., prevailing Central Time. Any objections or responses to entry of a final order on

   the Motion shall be filed on or before 4:00 p.m., prevailing Central Time, on July 7, 2021.

   In the event no objections to entry of the final order on the Motion are timely received, this

   Court may enter such final order without need for the Final Hearing.

2. The following Rejection Procedures are approved in connection with rejecting Contracts:

               a.      Rejection Notice. The Debtors shall file a notice substantially in the form
                       annexed as Annex 1 to the Order (the “Rejection Notice”) to reject a
                       Contract or Contracts pursuant to section 365 of the Bankruptcy Code,
                       which Rejection Notice shall set forth, among other things: (i) the Contract
                       or Contracts to be rejected; (ii) the Debtor or Debtors party to such Contract;
                       (iii) the names and addresses of the counterparties to such Contracts (each
                       a “Rejection Counterparty”); (iv) the proposed effective date of rejection
                       for such Contracts, which, for non-residential real property leases, shall be
                       the later of (A) the proposed effective date of the rejection for such
                       Contract, or (B) if applicable, the date upon which the Debtors in writing
                       (email sufficient) surrender the premises to the landlord and return the keys,
                       key codes, or security codes, as applicable (the “Rejection Date”); (v) if any
                       such Contract is a lease, the personal property to be abandoned
                       (the “Abandoned Property”), if any, and an estimate of the book value of
                       such property, if practicable; and (vi) the deadlines and procedures for filing
                       objections to the Rejection Notice (as set forth below).                   The
                       Rejection Notice may list multiple Contracts, provided that the number of
                       counterparties to Contracts listed on each Rejection Notice shall be limited
                       to no more than 100.

               b.      Service of the Rejection Notice.         The Debtors will cause the
                       Rejection Notice to be served by: (i) overnight delivery service upon the
                       Rejection Counterparties affected by the Rejection Notice at the notice
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                           address provided in the applicable Contract (and upon such Rejection
                           Counterparty’s counsel, if known); and (ii) first class mail, email, or fax,
                           upon (A) the United States Trustee for the Southern District of Texas; (B)
                           counsel to the DIP Lender; (C) the holders of the 40 largest unsecured
                           claims against the Debtors (on a consolidated basis); (D) the United States
                           Attorney’s Office for the Southern District of Texas; (E) the Internal
                           Revenue Service; (F) the state attorneys general for all states in which the
                           Debtors conduct business; and (G) any party that has requested notice
                           pursuant      to      Bankruptcy        Rule       2002        (collectively,
                           the “Master Notice Parties”).

                  c.       Objection Procedures. Parties objecting to a proposed rejection must file
                           and serve a written objection3 so that such objection is filed with the Court
                           on the docket of the Debtors’ chapter 11 cases and is actually received by
                           the following parties (collectively, the “Objection Service Parties”) no later
                           than twenty-one (21) days after the date the Debtors file and serve the
                           relevant Rejection Notice (the “Rejection Objection Deadline”): (i) the
                           Debtors, 9305 E. Via Ventura, Scottsdale, Arizona 85258, Attn: Marc
                           Liebman; (ii) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601
                           Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg,
                           P.C. and Christine A. Okike, P.C., and Kirkland & Ellis LLP, 300 North
                           LaSalle Street, Chicago, Illinois 60654, Attn: Dan Latona; (iii) proposed
                           co-counsel to the Debtors, Jackson Walker LLP, Attn: Matthew D.
                           Cavenaugh, Jennifer F. Wertz, and J. Machir Stull; (iv) the United States
                           Trustee, 515 Rusk, Suite 3516, Houston, Texas 77002; (v) counsel to the
                           DIP Lender, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York,
                           New York 10153, Attn: Gary Holtzer, Jessica Liou, David J. Cohen, and
                           Scott Bowling, and 700 Louisiana Street, Houston, Texas 77002-275, Attn:
                           Alfredo Pérez.

                  d.       No Objection Timely Filed. If no objection to the rejection of any Contract
                           is timely filed, each Contract listed in the applicable Rejection Notice shall
                           be rejected as of the applicable Rejection Date set forth in the
                           Rejection Notice or such other date on which the Debtors and the applicable
                           Rejection Counterparty agree; provided that the Rejection Date for a
                           rejection of a lease of non-residential real property shall not occur until the
                           later of (i) the Rejection Date set forth in the Rejection Notice and (ii) the
                           date the Debtors relinquish control of the premises by notifying the affected
                           landlord in writing of the Debtors’ surrender of the premises and (A) turning
                           over keys, key codes, and security codes, if any, to the affected landlord or
                           (B) notifying the affected landlord in writing that the keys, key codes, and
                           security codes, if any, are not available but the landlord may rekey the
                           leased premises; provided that the Rejection Date for a lease of

3   An objection to the rejection of a particular Contract listed on a Rejection Notice shall not constitute an objection
    to the rejection of any other Contract listed on such Rejection Notice.


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           non-residential    real   property     rejected     pursuant    to    these
           Rejection Procedures shall not occur earlier than the date the Debtors filed
           and served the applicable Rejection Notice.

     e.    Unresolved Timely Objection. If an objection to a Rejection Notice is
           timely filed and properly served as specified above and not withdrawn or
           resolved, the Debtors shall request the Court schedule a hearing on such
           objection and shall provide at least ten (10) days’ notice of such hearing to
           the applicable Rejection Counterparty and the other Objection Service
           Parties. If such objection is overruled or withdrawn, such Contract shall be
           rejected as of the applicable Rejection Date set forth in the applicable
           Rejection Notice or such other date to which the Debtors and the applicable
           Rejection Counterparty have agreed or that is ordered by the Court. In the
           case of a rejection of a lease of non-residential real property, such rejection
           shall not occur until the later of (i) the Rejection Date set forth in the
           Rejection Notice, (ii) the date the Debtors relinquished control of the
           premises by notifying the affected landlord in writing of the Debtors’
           surrender of the premises and (A) turning over keys, key codes, and security
           codes, if any, to the affected landlord or (B) notifying the affected landlord
           in writing that the keys, key codes, and security codes, if any, are not
           available, but the landlord may rekey the leased premises, and (iii) such
           other date to which the Debtors and the applicable Rejection Counterparty
           have agreed or that is ordered by the Court; provided that the Rejection Date
           for a lease of non-residential real property rejected pursuant to these
           Rejection Procedures shall not occur earlier than the date the Debtors filed
           and served the applicable Rejection Notice.

     f.    Deposits. If the Debtors have deposited monies with a Rejection
           Counterparty as a security deposit or other arrangement, such Rejection
           Counterparty may not set off or recoup or otherwise use such deposit
           without the prior approval of the Court, unless the Debtors and the
           applicable Rejection Counterparty otherwise agree.

     g.    Modifications to Rejection Notice. The Debtors reserve the right to remove
           any Contract from a Rejection Notice at any time prior to the Rejection
           Date.

     h.    Abandoned Property. The Debtors are authorized, but not directed, at any
           time on or before the applicable Rejection Date, to remove or abandon any
           of the Debtors’ personal property that may be located on the Debtors’ leased
           premises that pertain to a rejected Contract. The Debtors shall generally
           describe the property in the Rejection Notice and their intent to abandon
           such property. Absent a timely objection, any and all property located on
           the Debtors’ leased premises on the Rejection Date of the applicable lease
           of non-residential real property shall be deemed abandoned pursuant to
           section 554 of the Bankruptcy Code, as is, effective as of the Rejection Date.
           Landlords may, in their sole discretion and without further notice or order

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                         of the Court, utilize and/or dispose of such Abandoned Property without
                         liability to the Debtors or third parties and, to the extent applicable, the
                         automatic stay is modified to allow such disposition.4 The rights of the
                         counterparty to each Contract to assert claims for the disposition of the
                         Abandoned Property are reserved, as are all parties’ rights to object to such
                         claims.

                i.       Proofs of Claim. Claims arising out of the rejection of Contracts, if any,
                         must be filed on or before the later of (i) the deadline for filing proofs of
                         claim established in these chapter 11 cases, if any, and (ii) thirty (30) days
                         after the later of (A) the Rejection Objection Deadline, if no objection is
                         filed, and (B) the date that all such filed objections have either been
                         overruled or withdrawn. If no proof of claim is timely filed, such claimant
                         shall be forever barred from asserting a claim for damages arising from the
                         rejection and from participating in any distributions on such a claim that
                         may be made in connection with these chapter 11 cases.

        3.      Approval of the Rejection Procedures and this Interim Order will not prevent the

Debtors from seeking to reject a Contract by separate motion or pursuant to a chapter 11 plan.

        4.      The following Assumption Procedures are approved in connection with assuming

and assuming and assigning Contracts:

                a.       Assumption Notice. The Debtors shall file a notice, substantially in the
                         form annexed as Annex 2 to the Order (the “Assumption Notice”),
                         indicating the Debtors’ intent to assume or assume and assign a Contract or
                         Contracts pursuant to section 365 of the Bankruptcy Code, which shall set
                         forth, among other things: (i) the Contract or Contracts to be assumed or
                         assumed and assigned; (ii) the Debtor or Debtors party to such Contract;
                         (iii) the names and addresses of the counterparties to such Contracts (each
                         an “Assumption Counterparty”); (iv) the identity of the proposed assignee
                         of such Contracts (the “Assignee”), if applicable; (v) the proposed effective
                         date of the assumption for each such Contract (the “Assumption Date”);
                         (vi) the proposed cure amount, if any, for each such Contract;
                         (vii) a description of any material amendments to the Contract made outside
                         of the ordinary course of business; and (viii) the deadlines and procedures
                         for filing objections to the Assumption Notice (as set forth below).
                         The Assumption Notice may list multiple Contracts; provided that the
                         number of counterparties to Contracts listed on each Assumption Notice
                         shall be limited to no more than 100.


4   If the Rejection Date specified on the Rejection Notice predated the removal of any property not otherwise
    generally described in the abandonment schedule to the Rejection Notice, the Rejection Date will not become
    effective until the date such property is removed from the premises.


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                 a.       Service of the Assumption Notice and Evidence of Adequate Assurance.
                          The Debtors will cause the Assumption Notice to be served by (i) overnight
                          delivery upon the Assumption Counterparties affected by the Assumption
                          Notice and each Assignee, if applicable, at the address set forth in the notice
                          provision of the applicable Contract (and upon the Assumption
                          Counterparties’ counsel, if known) and (ii) first class mail, email, or fax
                          upon the Objection Service Parties. To the extent the Debtors seek to
                          assume and assign a lease of non-residential real property, the Debtors will
                          cause evidence of adequate assurance of future performance to be served
                          with the Assumption Notice by overnight delivery upon the Assumption
                          Counterparties affected by the Assumption Notice at the address set forth in
                          the notice provision of the applicable Contract (and upon the Assumption
                          Counterparties’ counsel, if known, by electronic mail).5

                 b.       Objection Procedures. Parties objecting to a proposed assumption or
                          assumption and assignment (including as to the cure amount), as applicable,
                          of a Contract must file and serve a written objection6 so that such objection
                          is filed with the Court no later than twenty-one (21) days after the date the
                          Debtors file and serve the relevant Assumption Notice and promptly serve
                          such objection on the Objection Service Parties.

                 c.       No Objection. If no objection to the assumption or assumption and
                          assignment of any Contract is timely filed, each Contract shall be assumed
                          or assumed and assigned as of the Assumption Date set forth in the
                          applicable Assumption Notice or such other date as the Debtors and the
                          applicable Assumption Counterparties agree, and the proposed cure amount
                          shall be binding on all counterparties to such Contract, and no amount in
                          excess thereof shall be paid for cure purposes; provided that the Assumption
                          Date for a lease of non-residential real property shall not occur earlier than
                          the date the Debtors filed and served the applicable Assumption Notice.

                 d.       Unresolved Timely Objection. If an objection to an Assumption Notice is
                          timely filed and properly served as specified above and not withdrawn or
                          resolved, the Debtors shall request the Court schedule a hearing on such
                          objection and shall provide at least ten (10) days’ notice of such hearing to
                          the applicable Assumption Counterparty and the other Objection Service
                          Parties. If such objection is overruled or withdrawn, such Contract shall be
                          assumed or assumed and assigned as of the Assumption Date set forth in


5   The Debtors shall serve (by electronic mail, if requested) a counterparty to a Contract other than a lease of
    non-residential real property to be assumed or assumed and assigned under the Contract Procedures with evidence
    of adequate assurance as soon as reasonably practicable upon such counterparty’s written request to the Debtors’
    proposed counsel.
6   An objection to the assumption or assumption and assignment of any particular Contract listed on an Assumption
    Notice shall not constitute an objection to the assumption and/or assignment of any other Contract listed on such
    Assumption Notice.


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                       the Assumption Notice or such other date to which the Debtors and the
                       counterparty to such Contract have agreed, or as ordered by the Court.

               e.      Modifications of Assumption Notice. The Debtors reserve the right to
                       remove any Contract from an Assumption Notice at any time prior to the
                       Assumption Date (including, without limitation, upon the failure of any
                       proposed assumption and assignment to close).

       5.      With regard to Contracts to be assigned, pursuant to sections 105(a) and 363(f) of

the Bankruptcy Code, the assignment of any Contract shall: (a) be free and clear of (i) all liens

(and any liens shall attach to the proceeds of such assignment in the same order and priority subject

to all existing defenses, claims, setoffs, and rights) and (ii) any and all claims (as that term is

defined in section 101(5) of the Bankruptcy Code), obligations, demands, guaranties of or by the

Debtors, debts, rights, contractual commitments, restrictions, interests, and matters of any kind

and nature, whether arising prior to or subsequent to the commencement of these chapter 11 cases,

and whether imposed by agreement, understanding, law, equity, or otherwise (including, without

limitation, claims, and encumbrances (A) that purport to give to any party a right or option to effect

any forfeiture, modification, or termination of the interest of any Debtor or Assignee, as the case

may be, in the Contract(s), or (B) in respect of any taxes; and (b) constitute a legal, valid, and

effective transfer of such Contracts and vest the applicable Assignee with all rights, titles, and

interests to the applicable Contracts). For the avoidance of doubt, all provisions of the applicable

assigned Contract, including any provision limiting assignment, shall be binding on the applicable

Assignee.

       6.      Subject to and conditioned upon the occurrence of a closing with respect to the

assumption and assignment of any Contract, and subject to the other provisions of this Interim

Order (including the aforementioned Assumption Procedures), the Debtors are hereby authorized

in accordance with sections 365(b) and (f) of the Bankruptcy Code to (a) assume and assign to any

Assignees the applicable Contracts, with any applicable Assignee being responsible only for the
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post-closing liabilities under the applicable Contracts except as otherwise provided for in this

Interim Order and (b) execute and deliver to any applicable Assignee such assignment documents

as may be reasonably necessary to sell, assign, and transfer such Contract. For the avoidance of

doubt, the occurrence of a closing with respect to the assumption and assignment of any Contract

shall mean the date on which such assumption and assignment is effective.

        7.     The Debtors’ right to assert that any provisions in the Contract that expressly or

effectively restrict, prohibit, condition, or limit the assignment of or the effectiveness of the

Contract to an Assignee are unenforceable anti-assignment or ipso facto clauses is fully reserved.

        8.     The Assignee shall have no liability or obligation with respect to defaults relating

to the assigned Contracts arising, accruing, or relating to a period prior to the applicable closing

date.

        9.     The Debtors are hereby authorized, pursuant to section 363(b) of the

Bankruptcy Code, to enter into the consensual amendments as set forth in an Assumption Notice.

        10.    Approval of the Contract Procedures and this Interim Order will not prevent the

Debtors from seeking to reject, assume, or assume and assign a Contract by separate motion.

        11.    The 14-day stay required of any assignment of any Contract pursuant to

Bankruptcy Rule 6006(d) is hereby waived.

        12.    Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

amount of, basis for, or validity of any claim against a Debtor entity under the Bankruptcy Code

or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an

implication or admission that any particular claim is of a type specified or defined in the Motion


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or any order granting the relief requested by the Motion or a finding that any particular claim is an

administrative expense claim or other priority claim; (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code;

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of

the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or any other

applicable law; or (h) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens.

         13.    All rights and defenses of the Debtors are preserved, including all rights and

defenses of the Debtors with respect to a claim for damages arising as a result of a Contract

rejection, including any right to assert an offset, recoupment, counterclaim, or deduction. In

addition, nothing in this Interim Order or the Motion shall limit the Debtors’ ability to subsequently

assert that any particular Contract is terminated and is no longer an executory contract or unexpired

lease.

         14.    This Interim Order and any order entered pursuant hereto approving the

assumption, rejection, or assumption and assignment of an executory contract or unexpired lease

permits the use of cash or other assets only to the extent authorized under this Court’s applicable

orders authorizing debtor-in-possession financing, including the Budget (as defined therein) (the

“DIP Orders”). In the event of any inconsistency between this Interim Order (or any order entered

pursuant hereto approving the assumption, rejection, or assumption and assignment of an

executory contract or unexpired lease) and the DIP Orders, the DIP Orders shall control.


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       15.     Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

Bankruptcy Local Rules are satisfied by such notice.

       16.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       17.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion, the Rejection Notice, and the

Assumption Notice, as applicable.

       18.      This Court retains exclusive jurisdiction with respect to all matters arising from or
                                                                                         **
related to the implementation, interpretation, and enforcement of this Interim Order.

 Houston, Texas
 Dated:Signed: June 08,
         ___________,   2021.
                      2021

                                                   ____________________________________
                                                   UNITED STATES BANKRUPTCY JUDGE
                                                      DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE



  ** Nothing herein prevents a counter-party from filing its own motion seeking to compel assumption or
  rejection under 11 U.S.C. § 365.




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                             Annex 1

                     Proposed Rejection Notice
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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                    )
    In re:                                                          )   Chapter 11
                                                                    )
    KATERRA INC., et al.,1                                          )   Case No. 21-31861 (DRJ)
                                                                    )
                             Debtors.                               )   (Joint Administration Requested)
                                                                    )
                                                                    )   Re: Docket No. __

                     [NUMBER] NOTICE OF REJECTION OF [A] CERTAIN
                  EXECUTORY CONTRACT[S] [AND/OR UNEXPIRED LEASES]

PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
CONTRACTS OR LEASES ON SCHEDULE 2 ATTACHED HERETO AND READ THE
CONTENTS OF THIS NOTICE CAREFULLY.

             PLEASE TAKE NOTICE that on [____________], 2021, the United States Bankruptcy

Court for the Southern District of Texas (the “Court”) entered an order on the motion (the “Motion”)2

of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to reject,

assume, or assume and assign executory contracts and unexpired leases and (ii) granting related relief

[Docket No. ____] (the “Procedures Order”), attached hereto as Schedule 1.

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined, in

the exercise of their business judgment, that each Contract set forth on Schedule 2 attached hereto is




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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hereby rejected effective as of the date (the “Rejection Date”) set forth in Schedule 2, or such other

date to which the Debtors and the counterparty or counterparties to any such Contract agree.

        PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed rejection

of any of the Contracts must file and serve a written objection so that such objection is filed with the

Court on the docket of the Debtors’ chapter 11 cases and is actually received by the following parties

no later than 14 days after the date that the Debtors served this Notice: (i) the Debtors, 9305 E. Via

Ventura, Scottsdale, Arizona 85258, Attn: Marc Liebman; (ii) proposed counsel to the Debtors,

Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A.

Sussberg, P.C. and Christine A. Okike, P.C., and Kirkland & Ellis LLP, 300 North LaSalle Street,

Chicago, Illinois 60654, Attn: Dan Latona; (iii) proposed co-counsel to the Debtors, Jackson Walker

LLP, Attn: Matthew D. Cavenaugh, Jennifer F. Wertz, and J. Machir Stull; (iv) the United States

Trustee, 515 Rusk, Suite 3516, Houston, Texas 77002; (v) counsel to the DIP Lender, Weil, Gotshal

& Manges LLP, 767 Fifth Avenue, New York, New York 10153, Attn: Gary Holtzer, Jessica Liou,

David J. Cohen, and Scott Bowling, and 700 Louisiana Street, Houston, Texas 77002-275, Attn:

Alfredo Pérez.

        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

rejection of each Contract shall become effective on the applicable Rejection Date set forth in

Schedule 2 or such other date to which the Debtors and the counterparty or counterparties to such

Contract agree.3




3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an objection
    to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the rejection of any
    particular Contract listed in this Rejection must state with specificity the Contract to which it is directed. For each
    particular Contract whose rejection is not timely or properly objected to, such rejection will be effective in accordance
    with this Rejection Notice and the Order.



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        PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any Contract

is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing to consider

the objection for the Contract or Contracts to which such objection relates. If such objection is

overruled or withdrawn, such Contract or Contracts shall be rejected as of the applicable Rejection

Date set forth in Schedule 2 or such other date to which the Debtors and the counterparty or

counterparties to any such Contract agree.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures Order,

if the Debtors have deposited monies with a Contract counterparty as a security deposit or other

arrangement, the Contract counterparty may not set off or recoup or otherwise use such monies without

further order of the Court, unless the Debtors and the counterparty or counterparties to such Contracts

otherwise agree.

        PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal property

of the Debtors that is listed and described in Schedule 2 shall be deemed abandoned as of the Rejection

Date.

        PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim with

respect to rejection of your Contract or Contracts, you must do so by the later of (a) the claims bar

date established in these chapter 11 cases, if any, and (b) thirty (30) days after the later of (A) the

Rejection Objection Deadline, if no objection is filed and (B) the date that all such filed objections

have either been overruled or withdrawn. IF YOU FAIL TO TIMELY SUBMIT A PROOF OF

CLAIM IN THE APPROPRIATE FORM BY THE DEADLINE SET FORTH HEREIN, YOU WILL

BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM (1) ASSERTING SUCH CLAIM

AGAINST ANY OF THE DEBTORS AND THEIR CHAPTER 11 ESTATES, (2) VOTING ON

ANY CHAPTER 11 PLAN OF REORGANIZATION FILED IN THESE CASES ON ACCOUNT




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OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’

CHAPTER 11 CASES ON ACCOUNT OF SUCH CLAIM.




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Houston, Texas
[●], 2021

/s/ Draft
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Matthew D. Cavenaugh (TX Bar No. 24062656)   KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)      Joshua A. Sussberg, P.C. (pro hac vice pending)
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Proposed Co-Counsel to the Debtors           Proposed Co-Counsel to the Debtors
and Debtors in Possession                    and Debtors in Possession
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                            Schedule 1

                        Procedures Order
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                            Schedule 2

                        Rejected Contracts
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                             Annex 2

                    Proposed Assumption Notice
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            ) Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                ) (Joint Administration Requested)
                                                                      )

                         [NUMBER] NOTICE OF ASSUMPTION
                       OR ASSUMPTION AND ASSIGNMENT OF [A]
             CERTAIN EXECUTORY CONTRACT[S] [AND/OR UNEXPIRED LEASES]

PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
CONTRACTS OR LEASES ON SCHEDULE 2 ATTACHED HERETO AND READ THE
CONTENTS OF THIS NOTICE CAREFULLY.

             PLEASE TAKE NOTICE that on [____________], 2021, the United States Bankruptcy

Court for the Southern District of Texas (the “Bankruptcy Court”) entered an order on the motion

(the “Motion”)2 of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving

procedures to reject, assume, or assume and assign executory contracts and unexpired leases and

(ii) granting related relief [Docket No. ____] (the “Procedures Order”), attached hereto as

Schedule 1.

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Assumption Notice”), the Debtors hereby notify you that they have

determined, in the exercise of their business judgment, that each Contract set forth on Schedule 2

attached hereto is hereby assumed or assumed and assigned, as applicable, effective as of the date


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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(the “Assumption Date”) set forth in Schedule 2, or such other date as the Debtors and the

counterparty or counterparties to any such Contract agree.

        PLEASE TAKE FURTHER NOTICE that the Debtor or Assignee, as applicable, has

the financial wherewithal to meet all future obligations under the Contract, which may be

evidenced upon written request by the counterparty to the Contract,3 thereby demonstrating that

the Debtor or Assignee, as applicable, has the ability to comply with the requirements of adequate

assurance of future performance.4

        PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

assumption or assumption and assignment of any of the Contracts must file and serve a written

objection so that such objection is filed with the Court on the docket of the Debtors’ chapter 11

cases and is actually received by the following parties no later than 14 days after the date that the

Debtors served this Notice: (i) the Debtors, 9305 E. Via Ventura, Scottsdale, Arizona 85258,

Attn: Marc Liebman; (ii) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington

Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C. and Christine A. Okike,

P.C., and Kirkland & Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Dan

Latona; (iii) proposed co-counsel to the Debtors, Jackson Walker LLP, Attn: Matthew D.

Cavenaugh, Jennifer F. Wertz, and J. Machir Stull; (iv) the United States Trustee, 515 Rusk, Suite

3516, Houston, Texas 77002; (v) counsel to the DIP Lender, Weil, Gotshal & Manges LLP, 767

Fifth Avenue, New York, New York 10153, Attn: Gary Holtzer, Jessica Liou, David J. Cohen, and

Scott Bowling, and 700 Louisiana Street, Houston, Texas 77002-275, Attn: Alfredo Pérez.


3   To the extent the Debtors seek to assume and assign a lease of non-residential real property, the Debtors will
    cause evidence of adequate assurance of future performance to be served with the Assumption Notice by overnight
    delivery upon the Assumption Counterparties affected by the Assumption Notice.
4   The Debtors shall serve the counterparty to the Contract with evidence of adequate assurance upon such
    counterparty’s written request to Debtors’ counsel.


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        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

assumption or assumption and assignment of each Contract shall become effective on the

applicable Assumption Date set forth in Schedule 2 or such other date to which the Debtors and

the counterparty or counterparties to such Contract agree.5

        PLEASE TAKE FURTHER NOTICE that, the proposed cure amount under the Contract

is set forth in Schedule 2. If a written objection to the proposed cure amount is not timely filed,

then the cure amount shall be binding on all parties and no amount in excess thereof shall be paid

for cure purposes.

        PLEASE TAKE FURTHER NOTICE that if an objection to the assumption or

assumption and assignment of any Contract is timely filed and not withdrawn or resolved, the

Debtors shall file a notice for a hearing to consider the objection for the Contract or Contracts to

which such objection relates. If such objection is overruled or withdrawn, such Contract or

Contracts shall be assumed or assumed and assigned as of the Assumption Date set forth in

Schedule 2 or such other date as the Debtors and the counterparty or counterparties to such

Contract agree.




5   An objection to the assumption and/or assignment of any particular Contract or cure amount listed in this
    Assumption Notice shall not constitute an objection to the assumption and/or assignment of any other contract or
    lease listed in this Assumption Notice. Any objection to the assumption and/or assignment of any particular
    Contract or cure amount listed in this Assumption Notice must state with specificity the Contract to which it is
    directed. For each particular Contract whose assumption and/or assignment is not timely or properly objected to,
    such assumption and/or assignment will be effective in accordance with this Assumption Notice and the
    Procedures Order.


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Houston, Texas
[●], 2021

/s/ [●]
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             mstull@jw.com

Proposed Co-Counsel to the Debtors           Proposed Co-Counsel to the Debtors
and Debtors in Possession                    and Debtors in Possession
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                            Schedule 1

                        Procedures Order
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                            Schedule 2

                        Assumed Contracts
